          Case 1:21-cr-00159-ABJ Document 43 Filed 07/19/21 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA            )
                                    )
      vs.                           )                 Crim. No. 1:21-cr-00159 (ABJ)
                                    )
CLEVELAND GROVER                    )
MEREDITH, JR.                       )
                                    )
      Defendant                     )
____________________________________)

             JOINT MOTION FOR STATUS HEARING AND TO EXCLUDE
           SPECIFIED TIME UNTIL HEARING UNDER SPEEDY TRIAL ACT

       The United States and Defendant Cleveland Grover Meredith, Jr. hereby jointly move for

the scheduling of a status hearing in this matter and to exclude the time from the date of filing of

this Motion through the date of such hearing under the Speedy Trial Act (STA). In support of

the Motion, the parties state as follows:

       On March 26, 2021, the Court orally scheduled a status hearing for April 19, 2021. That

status hearing date was later vacated. No status hearing date has been scheduled to date.

       Good cause exists for granting this Motion. The Parties have been engaging in discovery

and have been in active plea negotiations. Additional time is needed to complete the exchange

of discovery and to explore potential pretrial resolution. In order to avoid any disputes regarding

the application of the STA,1 the parties request that the time from the filing of this motion

through the date of such status hearing be excluded in the interests of justice from the STA

calculation. In light of the respective schedules of undersigned counsel, the parties would

request a status hearing the week of August 9-13, 2021, at which time the parties will inform the



1 With the exception of the time period that would be specifically excluded under the STA per
this Joint Motion, Defendant reserves all rights under the STA.
          Case 1:21-cr-00159-ABJ Document 43 Filed 07/19/21 Page 2 of 3




Court of whether they have reached a pretrial resolution and, if not, be prepared to set dates for

motions, the pretrial conference and the trial.

                                       Respectfully submitted,

       CHANNING D. PHILLIPS                          KIYONAGA & SOLTIS, P.C.
       Acting United States Attorney
       DC Bar No. 415793

By:    _/s/Anthony L. Franks____                     /s/ Paul Kiyonaga_____
       ANTHONY L. FRANKS                             Paul Y. Kiyonaga
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         Case 1:21-cr-00159-ABJ Document 43 Filed 07/19/21 Page 3 of 3




                               CERTIFICATE OF SERVICE

       I hereby certify that on this 19th day of July 2021, a true and correct copy of the
foregoing Joint Motion for Status Hearing and to Exclude Specified Time Until Hearing Under
Speedy Trial Act was electronically filed with consequent service on all attorneys of record.

                                           /s/ Paul Y. Kiyonaga
                                           ________________________
                                           Paul Y. Kiyonaga
